Case 2:23-bk-10990-SK   Doc 710-1 Filed 04/12/24 Entered 04/12/24 14:07:10   Desc
                              Exhibit A Page 1 of 11




                        EXHIBIT A
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           Case 2:23-bk-10990-SK       Doc 710-1    Filed 04/12/24 Entered 04/12/24 14:07:10            Desc
                                              Exhibit A Page 2 of 11



                                                    COUNTER-OFFER

                     This agreement (the "Agreement" or "Counter-Offer") is intended to set forth the terms
             and conditions of a contract for the purchase by and sale to Roll Sparrow, LLC (the "Buyer")
             from Bradley D. Sharp (the "Seller" or "Trustee"), solely in his capacity as the duly appointed,
             qualified, and acting chapter 11 trustee for the bankruptcy estate of Leslie Klein ("the
             "Debtor"), of the real property more commonly known as 2560 N. Whitewater Club Drive B,
             Palm Springs, California (the "Property"). When executed below, this Agreement will
             constitute conclusive evidence and the exclusive terms and conditions of the contract for
             such purchase and sale (the "Sale") of the Property and will supersede and replace in its
             entirety Buyer's written Purchase Agreement and all attachments in support thereof dated
             March 14, 2024 (the "Offer") and any oral or written negotiations since the Offer.

             PURCHASE PRICE; DEPOSIT; ESCROW. The purchase price for the Property shall be
             $260,000 (the "Purchase Price"). Buyer shall make an initial deposit of $7,800 (the "Initial
             Deposit") in the form of cashier's check or wire transfer made payable to "A&A Escrow
             Services, Inc." (the "Escrow Holder") which shall be delivered to A&A Escrow Services,
             Inc., 15250 Ventura Blvd, suite 715, Sherman Oaks, California, within two (2) business
             days of (i) acceptance of this Counter-Offer by Buyer, (ii) Seller's execution of the
             Affirmation Agreement in the form attached hereto as Exhibit "A", and (iii) Buyer's
             receipt of a copy of the fully executed Counter-Offer and the Affirmation Agreement.

             FINANCIAL WHEREWITHAL. Buyer shall deliver to the Seller, within two (2) business
             days of (i) acceptance of this Counter-Offer by Buyer, (ii) Seller's execution of the
             Affirmation Agreement in the form attached hereto as Exhibit "A", and (iii) Buyer's
             receipt of a copy of the fully executed Counter-Offer and the Affirmation Agreement,
             proof of committed funds available to Buyer sufficient to enable Buyer to consummate
             the acquisition contemplated herein, which proof shall be in the form of a letter of credit,
             loan commitment, or other form acceptable to Seller in Seller's sole discretion. In the
             event that either (i) Buyer fails timely to provide any such proof, or (ii) Seller determines,
             in Seller's sole discretion, that any proof of funds provided to Seller by Buyer is
             unacceptable, Seller shall have the right, at Seller's option, to provide written notice to
             Buyer that this Counter-Offer is terminated. In the event that Seller exercises such
             termination right, this Counter-Offer shall terminate effective as of the date
             of Seller's written notice to Buyer, whereupon the Initial Deposit (if theretofore deposited
             with the Escrow Holder) shall be returned to Buyer and Buyer and Seller shall each be
             relieved of any further obligations hereunder.

             ESCROW INSTRUCTIONS. Escrow instructions corresponding to the terms of this
             Agreement shall be provided by the Escrow Holder and signed by the parties within five (5)
             business days of the date of Buyer's and Seller's receipt of said escrow instructions. Buyer
             and Seller shall deposit such documents and instruments with the Escrow Holder as and
             when reasonably required to complete the sale. Prior to the Trustee’s filing of his motion to
             approve the sale of the Property, Buyer shall be free to assign this Agreement to another
             person or entity (the "Assignee") subject to Seller's prior review and written approval (which
             approval Seller may grant or withhold in his sole discretion), but Buyer shall remain liable

                                                       Page 1 of 10
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           Case 2:23-bk-10990-SK       Doc 710-1    Filed 04/12/24 Entered 04/12/24 14:07:10                 Desc
                                              Exhibit A Page 3 of 11



             hereunder, together with such Assignee, in the event that such Assignee fails to perform
             any of Buyer's obligations hereunder. Buyer shall not assign this Agreement to another
             person or entity after the Trustee has filed his motion for approval of the sale of the
             Property with the Bankruptcy Court.

             BUYER'S DUE DILIGENCE AND CANCELLATION RIGHT. Buyer shall have ten (10)
             calendar days from the date of execution hereof to perform, complete, and satisfy all
             contingencies, inspections, investigations, tests and reviews of reports, and to complete all
             due diligence which Buyer desires for the Sale of the Property, including, but not limited to
             performing and completing any geological, soil, structural, environmental, or other tests,
             inspections, and investigations desire by Buyer. Buyer may, not later than the end of the ten
             (10) calendar day due diligence period, provide Seller written notice of Buyer's election to
             withdraw from this Agreement because of Buyer's inability to complete or dissatisfaction with
             the results of any of those matters (the "Notice of Cancellation"), in which event Buyer's and
             Seller's obligations under this Agreement shall be terminated and Buyer shall receive a full
             refund of Buyer's deposit. If Buyer fails to give such Notice of Cancellation within such due
             diligence period, all such contingencies shall be automatically removed and Buyer's obligation
             to proceed shall be non-contingent except as provided herein for (i) Buyer's review of a
             preliminary title report and underlying documents respecting the title to the Property (as set
             forth below), and (ii) Bankruptcy Court approval of this Agreement and the Sale (as set forth
             below).

             APPRAISAL AND FINANCING. Buyer waives the appraisal and financing contingencies and
             is paying all cash.

             TITLE; TITLE INSURANCE. Within three (3) business days after acceptance of this
             Agreement, Stewart Title Company or such other title company of Seller's choice (the "Title
             Company") will be instructed to provide a preliminary report of the condition of title to the
             Property, including copies of underlying documents referred to in Schedule B thereof, for
             Buyer's review. Buyer shall have 3 business days after receipt of the preliminary title report
             and underlying documents in which to provide Seller written notice (the "Notice of Title
             Disapproval") that Buyer disapproves the condition of title with respect to a material matter(s)
             that interfere with the use or marketability of the Property for the purpose for which it is
             currently used or intended to be used. Such notice must refer to the specific exception(s) in
             Schedule B of the preliminary title report and the specific underlying document(s) which are
             the basis for Buyer's disapproval. Within five (5) business days after receipt of the Notice of
             title Disapproval, Seller may, in Seller's sole discretion, either (i) cancel this Agreement and
             the Sale, in which event Buyer's and Seller's obligations under this Agreement shall be
             terminated and Buyer shall receive a full refund of the Initial Deposit, or (ii) elect to correct the
             item(s) that were disapproved by Buyer, in which event the Sale shall proceed. Seller may
             correct such item by any means that will result in the Title Company either removing the
             disapproved exception(s) from the preliminary report, providing title insurance coverage by
             endorsement against such exception(s), or providing that the order approving the Sale
             entered by the Bankruptcy Court shall resolve such exception. At the close of the Sale, Seller
             shall convey and Buyer shall accept title to the Property as shown in Schedule B of the
             preliminary title report, subject to any corrections as in this paragraph above, free and clear of

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           Case 2:23-bk-10990-SK       Doc 710-1    Filed 04/12/24 Entered 04/12/24 14:07:10             Desc
                                              Exhibit A Page 4 of 11



             all monetary liens, subject to the terms of the Agreement and the order approving the Sale.
             Seller shall pay the costs of a CLTA Standard Owner's policy of title insurance.

             REMOVAL OF CONTINGENCIES; COURT CONFIRMATION; CLOSING; DELIVERY OF
             POSSESSION. If Buyer does not give Seller written Notice of Cancellation or Notice of Title
             Disapproval as and when provided in this Agreement, Buyer's silence shall be deemed
             acceptance and Buyer shall be deemed to have satisfied and removed all of Buyer's
             contingencies and to proceed with the Sale. Seller shall then file a motion with the
             Bankruptcy Court to confirm the Sale, which sale shall be subject to qualified overbids as
             approved by the Bankruptcy Court. Upon such removal of contingencies, Buyer shall be
             unconditionally obligated to proceed with the Sale, subject only to Bankruptcy Court
             confirmation as set forth below. If the Bankruptcy Court confirms the Sale to Buyer, the
             closing shall take place as soon as practicable after entry of the order approving the Sale, but
             no later than the later to occur of (i) the first business day after fourteen (14) calendar days
             following the entry of the operative Order of the Bankruptcy Court approving the Sale or
             (ii) if the effectiveness of the Order of the Bankruptcy Court approving the Sale is
             stayed, the first business day after the Order is no longer stayed (the “Closing Date”).
             The closing shall occur on the date the deed transferring the Property to Buyer is
             recorded with the County Recorder where the Property is located.

             BANKRUPTCY SALE. Buyer acknowledges that Seller is a trustee duly appointed to
             administer the Debtors’ bankruptcy estate, and is a party to this Agreement solely in that
             capacity. Seller and his brokers and agents (collectively, the "Seller's Brokers") have not and
             will not determine the condition or fitness for use of the Property for any particular purpose.
             The Sale shall be "as is," "where is," "with all faults," and with no warranty by or recourse
             whatsoever to Seller or Seller's Brokers herein. Transfer of the Property shall be by Quitclaim
             Deed. All parties acknowledge that Seller is a party to this Agreement solely in his capacity
             as trustee of the Debtors’ estate and that in the event of any default in the performance
             of any of Seller's obligations under the Offer (as modified hereby) or in the event that
             any other claim is asserted against Seller, the Trustee, or the estate in connection with
             this transaction, the Trustee shall in no event have any personal liability whatsoever
             (whether in his individual capacity or otherwise), it being expressly understood and
             agreed that Buyer's sole recourse, if any, in such event shall be to the assets of the
             Debtors’ estate.

             TAXES; PRORATIONS; COSTS OF SALE. All real property taxes and assessments for
             the current tax year shown in the current County Tax Bill shall be prorated between Seller and
             Buyer and charged as of the closing date to the applicable accounts of Seller and Buyer. The
             Sale shall be free and clear of any homeowner's association assessments and all real
             property taxes (other than those prorated as provided above) enforceable against the Property
             through the closing date of the Sale. Escrow fees shall be split between Buyer and Seller in
             the manner customary in the County where the Property is located. Seller shall pay any
             real property transfer tax. Seller shall pay the cost of a Natural Hazard Disclosure
             Report, from a vendor selected by Seller, to be furnished to Buyer through escrow.
             Buyer shall pay and have sole responsibility for compliance with any requirements
             imposed on the Property or this Sale by any governmental agency(ies), including
             compliance with any applicable governmental retrofit requirements. Buyer shall pay the
             cost of recording the deed. Buyer and Seller shall each pay their own expenses of
             every other type except as specifically provided in this Agreement.
                                                       Page 3 of 10
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           Case 2:23-bk-10990-SK       Doc 710-1    Filed 04/12/24 Entered 04/12/24 14:07:10             Desc
                                              Exhibit A Page 5 of 11




             BANKRUPTCY COURT APPROVAL; OVERBIDDING. The Sale is subject to notice to
             creditors, approval by the Bankruptcy Court, and better qualified bids received by Seller
             through and including the Bankruptcy Court hearing to confirm the Sale. Payment of any and
             all real estate brokers' commissions is also subject to notice to creditors and approval by the
             Bankruptcy Court. Buyer acknowledges and agrees that Seller may not seek to obtain the
             Bankruptcy Court's approval if Seller has determined that it would be in the best interest of the
             bankruptcy estate not to do so. Buyer acknowledges and agrees that if the Bankruptcy
             Court approves the Sale to a different buyer (the “Successful Overbidder”) at the
             hearing on the Sale, the Trustee may hold the Buyer’s deposit pending close of the Sale
             to the Successful Overbidder and, if the Successful Overbidder does not timely close its
             purchase of the Property, the Trustee has the right to close the Sale to the Buyer at the
             Purchase Price hereunder, or such higher price as the Buyer may have bid at the
             hearing on the Sale.

             BROKERS. Seller is represented by Coldwell Banker and Desert Sands Realty. Buyer is
             represented by Windermere Real Estate. Subject to Bankruptcy Court approval, Seller will
             pay a real estate broker's commission aggregating 6% of net sales price of the Property as
             follows: 1.5% to Coldwell Banker, 1.5% to Desert Sands Realty and 3% to Windermere Real
             Estate in connection with the closing of the Sale. Seller's Brokers and Buyer's Brokers are
             collectively referred to herein as the "Brokers". No commission or compensation shall be due
             or payable to Brokers in connection with this Agreement or Sale except from the cash
             proceeds of an actual Sale of the Property that closes to Buyer. Buyer hereby represents
             and warrants that, other than the Brokers, Buyer has not dealt with any broker, finder, or
             other person entitled to any fee, commission, or other compensation in connection with
             the Sale and Buyer shall indemnify, defend, protect, and hold Seller and the related
             bankruptcy estate harmless of, from, and against any claims, demands, actions, causes
             of action, losses, liabilities, costs, and expenses (including, without limitation, all court
             costs and reasonable attorneys' fees) as Seller may suffer or incur in the event that any
             claims for any such fees, commissions, or other compensation of any kind are hereafter
             asserted.

             MATERIAL CHANGE OF CONDITION. In the event of any material change in the condition
             of the Property after the date of acceptance of this Counter-Offer, if Buyer demands repair of
             any resulting actual damage to the Property, Seller may, at Seller's sole option: (i) elect to
             terminate this Agreement, in which event Buyer's and Seller's obligations to buy or sell shall
             terminate and the Initial Deposit shall be refunded to Buyer without interest; or (ii) make
             required repairs at the bankruptcy estate's expense; or (iii) assign any insurance proceeds for
             the damage to the Property to Buyer as of the close of the Sale; or (iv) credit the cost of such
             repairs to Buyer through escrow, it being agreed that in the event that Seller elects and
             complies with subpart (b), (c), or (d) of this paragraph, Buyer's obligation to proceed with the
             Sale shall be unaffected by any such material change in the condition of the Property.
             Buyer's obligation to proceed with the Sale shall be unaffected by any such material change
             in the condition of the Property.

             REMEDY FOR BUYER'S OR SELLER'S FAILURE TO CLOSE. Buyer's sole remedy in the
             event that the Sale fails to close as a result of Seller's inability or failure to close for any
             reason, including but not limited to the reason of failure to obtain approval of the Sale by the
             Bankruptcy Court, shall be the mutual release of Buyer's and Seller's obligations to buy or

                                                       Page 4 of 10
Case 2:23-bk-10990-SK   Doc 710-1 Filed 04/12/24 Entered 04/12/24 14:07:10   Desc
                              Exhibit A Page 6 of 11
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           Case 2:23-bk-10990-SK       Doc 710-1    Filed 04/12/24 Entered 04/12/24 14:07:10         Desc
                                              Exhibit A Page 7 of 11



             materials, or toxic substances" or by similar terms under the Comprehensive
             Environmental Response, Compensation and Liability Act of 1980 (42 U.S.C. §§ 9601,
             et seq.), the Hazardous Materials Transportation Act, as amended (49 U.S.C. §§1801,
             et seq.), the Resource Conservation and Recovery Act (42 U.S.C. §§ 6901, et seq.), the
             Toxic Substance Control Act (15 U.S.C. § 2601, et seq.), the Clean Water Act (33
             U.S.C. § 1251, et seq.), California Health and Safety Code §§ 25117 or 25316, or other
             statutes and laws, all as amended and including all regulations issued thereunder; (xi)
             the content, completeness or accuracy of any due diligence materials or preliminary
             report regarding title to the Property; (xii) the conformity or lack of conformity of the
             improvements to any plans or specifications for the Property, including any plans and
             specifications that may have been or may be provided to Buyer; (xiii) the conformity or
             lack of conformity of the Property to past, current, or future applicable zoning or building
             requirements; (xiv) any deficiency of any undershoring, drainage, or other aspects,
             systems, or components of or affecting the Property; (xv) the fact, if applicable, that all
             or a portion of the Property may be located on or near any natural hazard zone as
             determined by any governmental agency or body; (xvi) the existence of vested land use,
             zoning, or building entitlements affecting the Property or any other property; or (xvii) any
             other matter. Without in any manner limiting the foregoing, Buyer hereby acknowledges
             and agrees that (i) Seller's Brokers have provided (and will hereafter provide) to Buyer
             various materials and information relating to the Property, including, without limitation,
             information and materials relating to the condition of the Property, and (ii) all such
             materials and information so provided to Buyer by Seller's Brokers shall, for all purposes
             of this Agreement, be deemed to have been disclosed to Buyer by the Seller, as well.

             BROKERS. Seller's Brokers herein have not and will not perform any inspections,
             investigations, or due diligence on behalf of Buyer unless otherwise specified herein.
             Buyer is informed that Buyer must arrange for any inspections and investigations
             desired by Buyer utilizing suitable third party professionals selected and compensated
             by Buyer. In no event shall Seller have any liability or responsibility for any
             representation, warranty, statement made, or information furnished by Seller's Brokers,
             or any other person or entity, concerning the Property, this Agreement, or any other
             matter, unless expressly set forth in writing and signed personally by Seller.

             OPPORTUNITY TO INSPECT; BUYER'S SOLE RELIANCE. Buyer represents,
             warrants, acknowledges, and agrees that Buyer has been given the opportunity to
             inspect and investigate the Property and all other facts and circumstances deemed by
             Buyer relevant and significant, and to review information and documentation affecting
             the Property. In deciding to proceed with the Sale, Buyer is relying solely on Buyer's
             own inspections and investigation of the Property (including by any outside
             professionals whom Buyer has elected to engage for such services) and review of such
             information and documentation, and not on any information provided or to be provided
             by Seller. Buyer further acknowledges and agrees that any information made available
             to Buyer or provided or to be provided by or on behalf of Seller with respect to the
             Property was obtained from a variety of sources and that neither Seller nor Seller's
             Brokers nor any other person has made or makes any representations as to the
             accuracy or completeness of such information. Buyer hereby fully and irrevocably

                                                     Page 6 of 10
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           Case 2:23-bk-10990-SK       Doc 710-1    Filed 04/12/24 Entered 04/12/24 14:07:10          Desc
                                              Exhibit A Page 8 of 11



             releases all such sources and preparers of information and documentation affecting the
             Property which were retained or engaged by Seller or Seller's Brokers from any and all
             claims that Buyer may now or hereafter have against such sources and preparers of
             information, for any costs, expenses, losses, liabilities, damages, demands, actions, or
             causes of action arising from any such information or documentation. NEITHER
             SELLER NOR BROKERS HAVE PROVIDED OR WILL PROVIDE ANY LEGAL OR
             TAX ADVICE TO BUYER. Buyer is informed that Buyer must obtain any such advice, if
             desired by Buyer, from independent professionals selected and engaged by Buyer.

             PHYSICAL,   GEOLOGICAL,   PEST                CONTROL,         AND      ENVIRONMENTAL
             INSPECTIONS AND INVESTIGATIONS.

                  A.   BUYER SHALL CONDUCT THOROUGH PHYSICAL, GEOLOGICAL,
             PEST CONTROL, ENVIRONMENTAL INSPECTIONS AND INVESTIGATIONS OF
             THE PROPERTY AS MAY BE DETERMINED BY BUYER, THROUGH QUALIFIED
             PROFESSIONALS SELECTED BY BUYER. Seller and Seller's Brokers strongly
             recommend that Buyer fully exercise and not waive such inspections and investigations.

                      B.   Buyer shall select and employ, at Buyer's sole expense, a licensed
             engineer(s), architect(s), contractor(s), geologist(s), pest control licensee(s),
             environmental consultant(s), or other qualified professional(s), to make inspection(s)
             and investigations of the Property, including, but not limited to, (i) its general structure,
             plumbing, heating, air conditioning (if any), electrical system, built-in appliances,
             cesspool/sewer/septic system, well, roof, soils, foundation, mechanical systems, pool,
             spa, related equipment and filters, sprinklers, and those other matters affecting the
             desirability of the Property (all if and only to the extent any such structures, systems,
             and components are presently a part of the Property); (ii) any actual or potential wood
             destroying pests or other conditions damaging to the Property or any portion thereof;
             (iii) environmental hazards, substances, products, or conditions, including without
             limitation, asbestos, formaldehyde, lead, lead-based paint, contaminated soil or water,
             fuel, chemical storage tanks, hazardous waste, electromagnetic fields, and radon gas,
             any of which may constitute a health risk; (iv) the presence or absence of any required
             governmental permits, inspections, applications, approvals, and certificates of
             occupancy, and compliance or lack of compliance with building codes and laws
             applicable to the Property; (v) plans and specifications for the Property; (vi) all
             applicable zoning, municipal, county, state, and federal, including those affecting the
             past, current, or any future use of the Property; (vii) deed restrictions and other matters
             of public record which may govern, restrict, condition, or prohibit the use, alteration, or
             development of the Property; and (viii) generally, without limitation, any and all other
             items and matters of whatsoever nature, character, or description, which Buyer deems
             material to Buyer's interests, in, on, or affecting the Property, and to approve or
             disapprove said inspection within the period and in the manner set forth in this
             Agreement.




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           Case 2:23-bk-10990-SK       Doc 710-1    Filed 04/12/24 Entered 04/12/24 14:07:10             Desc
                                              Exhibit A Page 9 of 11



             RETROFITTING. All required retrofitting including but not limited to the payment of City
             Report (if report is required), installation of smoke and carbon monoxide detectors, low
             flow toilets and compliance with all governmental agencies shall be Buyer’s
             responsibility for cost and completion.

             COMPLETE AGREEMENT; NO OTHER REPRESENTATIONS OR WARRANTIES.
             Seller shall not be liable or bound in any manner by any oral or written statements,
             representations, or information pertaining to the Property, or the operation thereof,
             furnished by any real estate broker, agent, employee, contractor, or other person.
             Buyer further acknowledges and agrees Seller has no obligations to make repairs,
             replacements, or improvements to the Property except as may otherwise be expressly
             stated herein. Without limiting any other provision hereof, Buyer represents, warrants,
             and covenants to Seller that, except for Seller's express representations and warranties
             specified in this Agreement, Buyer is relying solely upon Buyer's own investigation of
             the Property.

             WRITTEN AFFIRMATION OF SELLER REQUIRED. Buyer understands that Seller may
             continue to receive and respond to other offers on the Property and may be making several
             counter-offers concurrently containing the same or different terms. This Counter-Offer shall
             not be binding until accepted by Buyer and executed by Buyer and Seller on the signature
             page below; and then approved by Seller, in Seller's sole discretion, in the form of the Seller's
             "Affirmation of Agreement" attached hereto as Exhibit "A" which, if so executed by Seller, will
             constitute Seller's agreement that Seller will sell the Property to Buyer, subject to Bankruptcy
             Court approval, the rights of any overbidding parties, and the terms and conditions of this
             Agreement. Buyer further acknowledges that it would be imprudent and unrealistic to rely
             upon the expectation of entering into a binding agreement regarding the subject matter of this
             Counter-Offer prior to receipt of Seller's Affirmation of Agreement, and further represents to
             Seller that any efforts to complete due diligence, or to perform any of the obligations provided
             herein shall not be considered as evidence of binding intent without Seller's Affirmation of
             Agreement, and understands that BUYER'S ACCEPTANCE HEREOF SHALL HAVE NO
             FORCE OR EFFECT PRIOR TO BUYER'S RECEIPT OF SUCH AFFIRMATION OF
             AGREEMENT SIGNED BY SELLER.

             ATTORNEYS' FEES. In the event that either party hereto brings an action or other
             proceeding to enforce or interpret the terms and provisions of this Agreement, the
             prevailing party in that action or proceeding shall be entitled to have and recover from
             the non-prevailing party all such fees, costs and expenses (including, without limitation,
             all court costs and reasonable attorneys' fees) as the prevailing party may suffer or incur
             in the pursuit or defense of such action or proceeding.




                                                       Page 8 of 10
Case 2:23-bk-10990-SK   Doc 710-1 Filed 04/12/24 Entered 04/12/24 14:07:10   Desc
                             Exhibit A Page 10 of 11
Case 2:23-bk-10990-SK   Doc 710-1 Filed 04/12/24 Entered 04/12/24 14:07:10   Desc
                             Exhibit A Page 11 of 11
